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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
Brigette Stelzer,
                            Plaintiff(s)

                  -against-                             18cv11693(GB0)
                                                        CIVIL CASE MANAGEMENT
Barstool Sports, Inc.,                                  PLAN ANO SCHEDULING ORDER
                            0efendant(s)

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       After consultation with counsel for the parties, the following Case Management Plan is
adopted. This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal
Rules of civil Procedure.

        1.        An Initial pretrial conference will be held on Wednesday, April 24, 2019 at 9:30
                  a.m. at the United States District Courthouse, 500 Pearl Street, New York, New
                  York, Courtroom 11A.

        2.         No Additional parties may be joined after June 26, 2019.

        3.         No amendment to the pleadings will be permitted after July 25, 2019.

        4.        Except for good cause shown, all discovery shall be commenced in time to be
                  completed by September 25, 2019. The court expects discovery to be completed
                  within 90 days of the first scheduling conference unless, after the expiration of that
                  90 days period, all counsel stipulate that additional time (not to exceed 60 more
                  days) is needed to complete discovery. In such event, discovery may be extended
                  by the parties on consent, without application to the Court, provided the parties are
                  certain they can still meet the discovery completion date ordered by the Court. The
                  discovery completion date shall not be adjourned except upon a showing of
                  extraordinary circumstances.

        5.        Dispositive motions are to be served by October 23, 2019. Answering papers
                  are to be served within 14 days. Reply papers are to be served within seven (7)
                  days. In the event a dispositive motion is made, the date for submitting the Joint
                  Pretrial Order shall be changed from that shown herein to three(3) weeks from the
                  decision on the motion. The final pretrial conference shall be adjourned to a date
                  four (4) weeks from the decision on the motion.

        6.        A final pretrial conference will be held on November 27, 2019 at 9:45 a.m ..

        7.        The Joint Pretrial Order shall be filed no later than November 20, 2019. The
                  requirements for the pretrial order and other pretrial submissions shall be
                  governed by the Court's Individual Rules of Practice.
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      8.       All motions and applications shall be governed by the Court's Individual Rules of
              Practice.

      9.      The parties shall be ready for trial within 48 hours, notice on or after December
              25, 2019. The estimated trial time is 2-3              days, and this is a Q(lry)(non-
              jury) trial.
                           St<AtuS
      10.      A Subse~uent Case Man11ge1,,ent Conference will be held on .}L4\~          \7 , 2019
               at 9:45 a.m ..

Dated: April _ _ , 2019
       New York, New York         fl\PR 1 2 2019

                                                      SO ORDERED:



                                                                      B.~ffe
                                                                  ge B. Daniels
                                                        1 ed States District Judge




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